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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

FERDINAND BENJAMIN, Individually             :
and as the Personal Representative of the    :                    CIVIL ACTION
ESTATE OF ENOCK BENJAMIN,                    :
deceased,                                    :
                             Plaintiff,      :
        v.                                   :
                                             :              No.     2:20-cv-2594-JP
JBS S.A.,                                    :
JBS USA FOOD COMPANY,                        :
JBS USA HOLDINGS, INC.,                      :
JBS SOUDERTON, INC., and                     :
PILGRIM’S PRIDE CORPORATION,                 :
                      Defendants.            :

                                            ORDER

       AND NOW, this _30th_ day of _December__, 2021, upon consideration of Plaintiff’s

Motion for Leave to File Notice of Supplemental Authority in Support of Plaintiff’s Motion to

Remand (Docket No.(s) 17, 29) and any response thereto, it is hereby ORDERED that

Plaintiff’s Motion is GRANTED.

       The Clerk of Court is directed to enter on the docket for this matter Plaintiffs’ Notice of

Supplemental Authority attached as Exhibit 1 to Plaintiff’s Motion for Leave.



                                                    BY THE COURT:



                                                    _______/s/ John R. Padova_______
                                                    John R. Padova, J.
